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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 JANE DOE 2, et al.,
      Plaintiffs,
      v.
                                                           Civil Action No. 17-1597 (CKK)
 LLOYD J. AUSTIN, III, in his official
 capacity as Secretary of Defense, et al.,
        Defendants.

                                             ORDER
                                         (August 20, 2021)

       In light of the parties’ [258] Stipulation of Dismissal with Prejudice pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), it is, this 20th day of August, 2021, hereby

       ORDERED that this case is DISMISSED with prejudice.

       SO ORDERED.

                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
